
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/appellate/unpublished/a4703-15.pdf) could not be found on this server.
However, we found documents with names similar to the one you requested.Available documents:

/attorneys/assets/opinions/appellate/unpublished/a4701-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a4702-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a4703-13.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a4203-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a4703-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a4753-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a4723-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a4733-15.pdf (mistyped character)


IBM_HTTP_Server at www.judiciary.state.nj.us Port 443
